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Thomas S. Kluttz §
§ ClVIL ACTION NO.
Versus §
§
Worldpac §
§

EMPLOYMENT DlSCRll\/IINATION COMPLAINT

l. This action is brought under Title Vll of the Civil Rights Act of l964 for employment

discrimination Jurisdiction is conferred by Title 42 United States Code, Section § 2000e-5.

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c.¢=\-n»‘D`**',

2. The Plaintiff is: Thomas S Kluttz

1030 Barkston Drive

   

Kary, TX 77450
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o N
3. The Defendantis: Worldpac P'("<'°\’N
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37137 Hickory Street T` é»

Newark, CA. 94560

4. The plaintiff has attached to this complaint a copy of the charges filed on

Janua_.ty 11,2012.

5. On the date of April 07, 2012, the plaintiff received a Notice of Right to Sue letter issued
by the Equal Ernployment Opportunity Commission; a copy is attached.

 

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6.a: Because of the P|aintiff's sex and age,
the defendant has:
6.b: Worldpac violated anti-discrimination |aws.
6.c: Wor|dpac treated the plaintiff a ma|e, different then women.
6.d: Worldpac retaliated against the plaintiff.
6.e: Worldpac terminated the plaintist employment.

6.f: Worldpac caused the plaintiff: defamation of character.

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7. When and how the defendant has discriminated against the plaintiff:

History of Harassment of men at Worldpac Houston Warehouse 21:

7.1: January 2004: Trina Jones, supervisor and future assistant manager received “Final
Written Warning” from Worldpac for “Inappropriate Behavior in the Workplace”. Tn'na’s
behavior included “participation in conversations regarding sexual experiences,” and “making
derogatory comments about a fellow associate.” Referring to an associate as a “pimp and a

whore”.

7.2: August 2005: During my initial 2-week manager-training period. A male worker told
me that a “clique” existed here at Worldpac Houston Warehouse 21. He said: “the goal of
everyone here”, is to either “belong to the clique or be very nice to the clique”. “If not, you are
bullied and harassed.” The clique varied in size but generally consisted of 4 to 5 women, some
of them supervisors. The male worker stated that he could not Work at #21 because of the

on-going harassment from the clique. He had one week left of his 2-week notice to quit.

7.3: October 2008: I reported to Steve Sims (Worldpac Director) on numerous occasions that
Trina J ones was having difficulty hilfllling her role as Assistant Manager because she needed
training, and was “hanging out” with workers. She participated in conversations regarding
sexual experiences and made derogatory statements to workers.As per letter dated October 13,
2008, and numerous verbal conversations where l notified Worldpac that Trina J ones (a female
member of the “clique”) was a bully and harassed men.Worldpac responded by treating men

negatively, and different then women.

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History of harassment of men at Worldpac Houston 21, January 2009 thru December 2011:
7.5: The “clique” now consisting of Lisa, Ana, Rosa and Trina. four female supervisor-bullies
regularly harassed male workers as the male workers entered the workspace of the four female
supervisors Male workers were subjected to daily, regular, constant and egregious bombardment
of derogatory statements and harassment:

Loud, graphic sexual comments regarding sexual encounters that had occurred between the four
female supervisors

Loud and graphic bashing of traditional sexual relationships between male and female.

Graphic details of women having sex with other women.

Loud and open bashing of God and religious groups

Loud, graphic and continuous use of vulgan`ty and profanity.

7.6: Worldpac GPI violated ami-discrimination laws by not taking preventive action to stop

women’s harassment of men after Daniel Gonzalez reported the harassment to Worldpac.

7.7: The clique continued to harass men until Ken Mackey reported that the clique was harassing
men. Worldpac GPI violated ami-discrimination laws by attempting to flre Ken Mackey, a 49

year old male, by falsely accusing Ken of sexual harassment

7.8: Worldpac GPI violated ami-discrimination laws by firing Lester Adams for his 30 failed
attempts (text messages) to notify the assistant manager that Lisa and Ana harassed the male
workers The assistant manager did not respond to the text messages because the Assistant

manager was involved in, and supported the ongoing harassment of men.

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7 .9: Worldpac violated ami-discrimination laws by firing me, Thomas Kluttz, a 59 year old
male, who blew the whistle on the four women supervisors who had been bullying and harassing

male workers from years 2005 to 2011.

7.10: Worldpac GPI violated ami-discrimination laws by firing Steve Sims a 60 year old male

who reported that Lisa, Ana, Rosa and Trina harassed men.

7 .11: Worldpac caused Defamation of Character to me, Thomas Kluttz, by giving untrue and

false reason for my “termination of employment”.

7 .12: After my management position was terminated, Worldpac replaced me with a younger

WOm€I'l.

7.13: Four older men were discriminated against all within the same time period.

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8. The plaintiff requests that the defendant be ordered to:

8.1: create a better policy and stop the discrimination of men when it involves harassment
8.2: Re-emp|oy the plaintiff

8.3: compensation for loss of wages.

8.4: the court grant relief, including injunctions, damages costs and attorney's fees.

fw j [VLU€¢Q‘; 7- 03 ~@7 O/,>L

Signature of P|aintiff j

Address: 1030 Barkston Drive
Katy, Texas 77450

Telephone: 281-948-6262

 

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TO? Thomas S. Kluttz FrOmr Houston District Office
1030 Barkstori Drive Total Plaza
Katy, TX 77450 1201 Louisiana, Suite 600

Houston, TX 77002

 

I:] On behalf of person(s) aggrieved whose identity is
CONFlDENT/AL {29 CFR §1601.7(.§;
EEOC Charge No. EEOC Representative Telephone Nc

Gerard Ladera,
460-2012-00958 lnvestigator . (713) 651 -4945

THE EEOC lS CLOS|NG |TS FlLE ON THlS CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

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crs did ncr invoit a a dis sabilit‘, as defined by the Americans With Disabilities Act.

The Responclent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words you waited too long after the date(s) of the alleged
discrimination to file your charge

Il:l[il]lj

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

Other (briefly state,'

l:l[:l

- NOTlCE OF SUlT RlGHTS -

(See the additional information attached to this form.)

Title Vll, the Americans with Disabi|ities Act, the Genetic information Nondiscrimination Act, or the Age

Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.

You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court Your
lawsuit must be filed WlTHlN 90 DAYS of your receipt of this notice; or your right to sue based on this charge Will be
lost (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations`) oi the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years (Uears)
before you file suit may not be collectible.

  
 

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Enclosures(s) ';,.~/R Ruff Jr (Date Ma/~/ed)
D/Rijt:ict Director
cc: / /
Aaron Menser __/
Assistant General Counsel
WORLDPAC lNC TWC-Civil Rights Division
2635 E. llllillbrook Road 101 E. 15th Street, Rm. 144-f

Raleigh, NC 27604 Austin, TX 78778-000'1

 
   

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CHARGE OF DISCR|MINAT|QN Charge Presented To: Agency(ies) Charge No(s):
':'i~.is tenn is affected by the anacy Act of 1974. See enclosed Privacy Act f FEPA
Statement and other information before completing this form
[: eeoc 460-2012-00958
Texas Workforce Commission Civil Rights Division and EEoc
State or local Agency, if any
Name _i'indicate Mr., Ms., Mrs.) Home Phone (lnc/. Area Code) Da:e cf Binh
Nlt'. Thomas S. KluttZ (28‘1) 948-6262 09-23-‘1952

 

 

 

 

Street Address City State and ZlP Code

1030 Barkston Drive, Katy, TX 77450

 

Named is the Employer. l.abor Organization. Employment Agency, Apprenticeship Committee, or State or l.ocal Government Agency That l Believe

C-iscriminated Agalnst l\lle or Others. i_lf more than two, list under PART!CULARS below.)

 

 

 

 

 

 

 

Nanie N: E~:ic;.'ees. i~'.emoers Pjne,~e .\’c linciude A.'ea Coo'e;
i WORLDPAC 500 or llllore (800) 888-9982

S'.reet Acdress Ci:y S:a:e arc ZIP Cc:e

37137 Hickory Street, P.O. Box 5022, Houston, TX 77063

Name No. Emp\oyees, Members Phone No. (lnclude Area Code/`

S"ee:A:‘dress C=r, S‘.a:e a~: ZlP C::e

 

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DATE(S) DlSCRllt-ltN~'iON TOG‘.»< .='.¢ 3 E
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THE PARTlCUL.ARS ARE _/lf additional paper is needed a:e:* extra scee.‘i's},’:

younger females throughout the companyl

l. l was employed by Respondent as Branch Operations l\/lanager from August 8. 2005 to May 15, 2011.
ll. Throughout my employment older, male managers have systematically been terminated and replaced by
lll. l believe that l have been retaliated against for engaging in a protected activity and discriminated against

as a member of a class of older males, in violation of the Age Discrimination in Empicyment Act ;_ADE
1967, as amended, and Tltle Vll of the Civil Rights Act of1964. as amended

 

A} of

 

l want this charge filed with both the EEOC and the State or local Agency_ d any. i NOTARY ~ Wh€"?
will advise the agencies if l change my address or phone number and l will

necessary icf S.'ate and Local Agency Reqiiire".enrs

 

cooperate fully with them in the processing of my charge in accordance with their

 

2 ' g §§ 52 suescaiaeoAN
0 y j//~ 0 \/ 7MW~/ (morith,day,year)

Jate Charging Party Signature

 

 

 

procedures t swear or affirm that l have read the above charge and that it is true to
l declare under penalty of perjury that the above is true and correct the best of my knowledge information and belief
SlGNATURE OF COMPLAiNANT

D SWGRN TO BEFORE ME THlS DAT_

 

 

 

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Associate: Trina Jones Date: 1-26-04
Position:\l\larehouseldriver Department: 966 Location: #21
Nature of [:l Performance ij Attendance I:] Safety Violation
Prob|em: § Misconduct l:] Tardiness [:] Driving Record
Other:
Has Associate Been [:] Yes IZ No
Previously Counseled?
Type of Previous [:] Verbal [:] Perfom'iance Appraisal [:] Written Counseling(s) \:] Suspension
Report(s):
L“l_rid_i_r_:ate Date(s):

 

 

Supervisorl Manager’s Commems: This is a F|NAL WARN|NG. Through an internal investigation it was revealed
that Trina was involved in inappropriate behavior in the workplace The behavior included the following:

Hugging other associates l

Allowing associates to massage her shoulders '

Participating in conversations regarding sexual experiences

Mal<ing derogatory comments about a fellow associate Referring to an associate as a "pimp and whore".

This type of behavior is considered inappropriate and should cease immediately.

 

 

The absence of any statement on the part of the associates indicates

Associate’s comments and recommendations:
his/her agreement with the report as stated.

 

 

 

 

 

How supervisor l manager will assist associate to correct problem: The manager will direct the associate to
review WorldPac's harassment prevention policy and Code of Conduct. Manager will verify the completion of the
review and answer any questions with the associate

 

 

 

Proposed Solution: Attend mandatory harassment meeting in the near future

 

 

Future action if problem continues: Further disciplinary action, up to and including termination

 

 

/
Wy signature below signifies that l have /read'?nd understand the above report and that l have received a copy of it.

 

 

l /\ /l
Asso_ciatef\:/Mw %_ L/AM Date: /_ 0?7{@

 

Supervisor/ManageZ/W\ _ Date:1-26-O4
\ `

 

Reg. Ops.Manager (it/app|icable): \3 Date:

 

 

Date:

 

2"° Level Manager:

 

 

 

[No Subject] - Yahoo! Mail Page l of 1
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intl-1001 Male

[ No Subject] Monday, october 13, 2008 3;10 AM
i=i~;;n:: "Thomas Kluttz” <katyrealtyl@yahoo.com>

i'o: "Steve Sims" <stevens@wor|dpac.com>

Steve,

During the past 2 years it has been required of me to work with an unqualified ABOM that refuses to perform
as directed.

She has communicated inappropriate information to teammates and has prevented me from fulfilling
management responsibilities

Because of her actions and in-actions, my current position as BOM is now at risk.

She has now filed a claim against me and Worldpac.

| desperately need legal advise of which Worldpac has not yet provided

l request immediate time off to seek legal counsel and advise

Thank Youl
Thomas Kluttz

http://us.mc450mail.yahoo.com/mc/showMessage?Hd=Sent&sort=date&order=down&st. .. 1 0/12/2008

 

ABOM progress update, Houston 80 _ _
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Subject: ABOM progress update, Houston 80
From: Thomas S Kluttz <thomask@worldpac.com>
Date: Tue, 08 Jul 2008 18:49:Ol -0500

To: Steve Sims <stevems@worldpac.com>

Steve,

The following is an update on the progress of Trina Jones as ABOM.

rans ere o ous on - - wl an im 1a nee to recor s a ements of her new BOM. Appeared to have a mis-trust of
some people.
l began utilization of new ABOM (Trina) in similar manor as with the previous ABOM, by assigning the same responsibilities
and expectations
Previous ABOM understood and accepted responsibility and was able to multi~task with many assignments, including being
overloaded, and follow up, all while "getting the trucks out".

Trina's lack of knowledge and experience resulted in her inability to follow thru with the many tasks and expectations given her.

Friction resulted because of my refusal to address the overload and reduce the high level of expectations that I continually

placed upon Trina.

During the past six months, l have reduced the expectations and management load placed upon Trina, but still maintain strict

adherence to her follow ups and completion of given tasks

And at the same time she has grown in her administrative responsibilities

To be a more effective manager Trina needs to let go of her desire of having a: too-close of a bond with some Teammates.

As Trina grows in her ability tSTfUST'UTEerT,g'iUi/'v'vith various computer software and'_mamtam_her own ABOM-to-do-fist, she §
will excel as an ABOM. §

Thomas Kluttz
BOM
Houston #2

 

 

l ofl 9/26/2008 lO:l4 AM

 

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At the end of the day on Friday afternoon 08-01-08, BOM discussed weekend issues with Avery
Stevenson (ABOMT) and Trina Jones (ABOM) ie: labor overtime, truck repair, and replenishment.

Trina displayed her dissatisfaction that Avery was included in the discussion by walking away as BOM
instructed her on weekend directives

Trina turned her back to the BOM, left the dispatch area and refused to listen to BOl\/l’S weekend
directives

Failure to listen to directives
Disrespect and disregard for management
inappropriate act of insubordination committed directly in front of assistant manager in training

Trina must learn to work and act like a manager, and not allow decisions, directives and discussions, to
affect heriudgement and management ability.

Trina has been unwilling to accept the most important responsibility of an ABOM:
"even though there is never enough time, we are still held accountable”.

Attempts to teach accountability have not been accepted and have caused disagreements
debates and rebuttals from Trina (this is reflected in her last year’s performance
evaluation).

Although Trina gets the physical work done in the warehouse. she must use her time
more effectively, delegate more often, and reduce unnecessary time waste in Cash
management This will allow her to complete and follow thru with the continuously
increasing load of administrative functions She may want to be a little more flexible
when it comes to catching up on her administrative tasks by sometimes working beyond a
40 hour Week.

 

 

